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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                           Chapter 11

                                                                     Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                     (Jointly Administered)
                                          Debtors.
                                                                     Re: Docket No. 990


    CERTIFICATION OF COUNSEL REGARDING MOTION OF THE U.S. SECURITIES
    AND EXCHANGE COMMISSION FOR ORDER FURTHER EXTENDING TIME TO
        TAKE ACTION, TO THE EXTENT NECESSARY, TO DETERMINE THE
          DISCHARGEABILITY OF A DEBT TO A GOVERNMENTAL UNIT
                      PURSUANT TO 11 U.S.C. § 1141(d)(6)

            The undersigned counsel to the above-captioned debtors and debtors-in-possession (the

“Debtors”), with authority on behalf of the U.S. Securities and Exchange Commission (the

“Commission”), hereby certifies as follows:

            1.     On February 15, 2024, the Commission filed the Motion of the U.S. Securities and

Exchange Commission for Order Further Extending Time to Take Action, to the Extent Necessary,

to Determine the Dischargeability of a Debt to a Governmental Unit Pursuant to 11 U.S.C. §

1141(d)(6) [Docket No. 990] (the “Motion”). Attached to the Motion was, among other things, a

proposed form of order approving the relief requested in the Motion (the “Proposed Order”).

            2.     Pursuant to the notice filed with the Motion, any objection or response to the relief

requested in the Motion was to be filed and served so as to be received no later March 7, 2024 at

4:00 p.m. (Eastern Time) (the “Objection Deadline”).

            3.     Prior to the Objection Deadline, the Commission received informal comments from

the Debtors (the “Informal Comments”). In response, the Commission and the Debtors resolved


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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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the Informal Comments through revisions to the Proposed Order (the “Revised Proposed

Order”). The Commission has reviewed the Court’s docket in these cases and no further answer,

objection, or other responsive pleading to the Motion appears thereon. In addition, the Official

Committee of Unsecured Creditors and the Official Committee of Equity Security Holders do not

oppose the entry of the Revised Proposed Order.

       4.      For the convenience of the parties, a blackline of revisions to the Revised Proposed

Order is attached hereto as Exhibit B.

       WHEREFORE, the Commission therefore respectfully requests that the proposed form of

order attached hereto as Exhibit A be entered at the earliest convenience of the Court.



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Dated: March 8, 2024
Wilmington, Delaware

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